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                       In The Matter Of:
                      ROWLETTE, et al. vs.
                     MORTIMER, M.D., et al.




                 GERALD E. MORTIMER, M.D.
                     December 11, 2018
                      Video Deposition



                      T&T Reporting, LLC
                  477 Shoup Avenue, Suite 105
                   Idaho Falls, Idaho 83402




                   Min-U-Script® with Word Index
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                              Video Deposition

                                                                        1

 1                   UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF IDAHO

 3   KELLI ROWLETTE, an individual,                  )
     SALLY ASHBY, an individual, and                 )
 4   HOWARD FOWLER, an individual,                   ) Cause No.
                                                     ) 4:18-CV 00143
 5                         Plaintiffs,               ) DCN
     vs.                                             )
 6                                                   )
                                                     )
 7                                                   )
     GERALD E. MORTIMER, M.D., LINDA G.              )
 8   MCKINNON MORTIMER, and the marital              )
     community comprised thereof, and                )
 9   OBSTETRICS AND GYNECOLOGY                       )
     ASSOCIATES OF IDAHO FALLS, P.A., an             )
10   Idaho professional corporation,                 )
                                                     )
11                         Defendants.               )

12
13             DEPOSITION OF GERALD E. MORTIMER, M.D.

14             Tuesday, December 11, 2018, 9:00 a.m.

15                          Idaho Falls, Idaho
16

17

18
              BE IT REMEMBERED that the deposition of
19   Gerald E. Mortimer, M.D. was taken by the attorney
     for the plaintiffs at the office of Thomsen Holman
20   Wheiler, PLLC, located at 2635 Channing Way, Idaho
     Falls, Idaho, before Amber S. Williams, Court
21   Reporter and Notary Public, in and for the State of
     Idaho, in the above-entitled matter.
22

23

24

25

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09:13AM    1             A.    Yes.

09:13AM    2             Q.    Do you have any other children?

09:13AM    3             A.    I -- no.     I don't think so.
09:14AM    4             Q.    You don't think --

09:14AM    5             A.    Well, I don't know the answer to that.

09:14AM    6             Q.    You don't?
09:14AM    7             A.    Well, I don't -- I don't have other

09:14AM    8   family.    That's my family.

09:14AM    9             Q.    Okay.    But do you have other children
09:14AM   10   who are genetically your children but are not the
09:14AM   11   children of Linda Mortimer?

09:14AM   12             A.    I have -- I have donated sperm, so the
09:14AM   13   answer was -- probably be yes to that.

09:14AM   14             Q.    You say you donated sperm.          Tell me, how

09:15AM   15   did you get involved in sperm donation?
09:15AM   16             A.    I was practicing obstetrics and

09:15AM   17   gynecology, and I had patients that could not

09:15AM   18   conceive, and I desired to try to help.

09:15AM   19             Q.    Okay.    And so would you tell these

09:15AM   20   patients that, because they couldn't conceive, that

09:15AM   21   you would be happy to father a child for them?

09:15AM   22             A.    I did not disclose that to them.

09:15AM   23             Q.    Did you disclose to your wife that you

09:15AM   24   were having children with other women?

09:15AM   25             A.    I did tell her about that.

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09:17AM    1   going to donate sperm prior to donating any sperm?

09:17AM    2            A.     I told her that I was -- that I was a

09:17AM    3   sperm donor; that I would be -- I told her that --
09:17AM    4   after the fact that I had been a sperm donor.

09:17AM    5            Q.     You told her after the fact?

09:17AM    6            A.     Yes.
09:17AM    7            Q.     How long after the fact?

09:17AM    8            A.     I don't know.      Months maybe.

09:17AM    9            Q.     When did you decide to become a sperm
09:18AM   10   donor?
09:18AM   11            A.     I was practicing OB-GYN.         I had patients

09:18AM   12   that couldn't conceive.        I wanted to help if I could.
09:18AM   13            Q.     But my question is when?         I'm looking

09:18AM   14   for a year or date.

09:18AM   15            A.     Maybe 1980, '81 -- in there.           I don't --
09:18AM   16   I don't remember for sure.

09:18AM   17            Q.     And how did you go about becoming a

09:18AM   18   sperm donor?

09:18AM   19            A.     You mean the mechanics of it?           Or how

09:18AM   20   did I do it?     Or what --

09:18AM   21            Q.     Well --

09:18AM   22            A.     -- what's your question?

09:18AM   23            Q.     -- was there a clinic that was accepting

09:18AM   24   sperm donations and you went there?            You saw it in

09:18AM   25   the newspaper?     You responded to an advertisement?

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09:19AM    1   What was it that -- how did you go about becoming a

09:19AM    2   sperm donor?

09:19AM    3            A.     I don't remember for sure.
09:19AM    4            Q.     To your knowledge, were you ever a sperm

09:19AM    5   donor for anyone who was not your patient?

09:19AM    6            A.     I don't -- I don't think so.
09:19AM    7            Q.     Okay.    So all of the -- and I'm just

09:19AM    8   going to use your term for now -- all of the sperm

09:19AM    9   donations you made were to impregnate people who were
09:19AM   10   your patients, correct?
09:19AM   11            A.     Yes.

09:19AM   12            Q.     How many times did that happen?
09:19AM   13            A.     I -- maybe -- maybe two.         I don't --

09:20AM   14            Q.     Maybe two?

09:20AM   15            A.     Well...
09:20AM   16            Q.     But maybe a lot more?

09:20AM   17            A.     I don't know how many.

09:20AM   18            Q.     It could be more than 10 times?

09:20AM   19            A.     No.

09:20AM   20            Q.     But it's not less than two?

09:20AM   21            A.     It would be -- no.        It would be not less

09:20AM   22   than two.

09:20AM   23            Q.     So you're saying that you were a sperm

09:20AM   24   donor for your own patients not less than two times

09:20AM   25   but not more than 10?

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09:23AM    1   but -- you know, at least.

09:23AM    2            Q.     You went to medical school?

09:23AM    3            A.     I did.
09:23AM    4            Q.     Did they teach you in medical school

09:23AM    5   that it was acceptable practice to impregnate your

09:24AM    6   patients with your own semen?
09:24AM    7            A.     No.

09:24AM    8            Q.     Okay.    When did you decide that it was

09:24AM    9   okay to inseminate your patients with your own semen?
09:24AM   10            A.     When I started to treat infertility
09:24AM   11   patients and saw that there was a need.             I don't know

09:24AM   12   the exact point in my practice when that happened.
09:24AM   13            Q.     Was it something that you thought about

09:24AM   14   for a while?

09:24AM   15            A.     Yes.
09:24AM   16            Q.     Tell me about that process.

09:24AM   17            A.     Well, I was concerned about patients

09:24AM   18   that were infertile, and trying to think of ways that

09:24AM   19   we might help with that, and it was a process of

09:25AM   20   thought over time.

09:25AM   21            Q.     Okay.    And I -- tell me more about that

09:25AM   22   process of thought over time.

09:25AM   23            A.     Well, I -- I was thinking about how can

09:25AM   24   I help my patients?       What can I do that's -- you

09:25AM   25   know, that's going to help people that have a desire

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09:25AM    1   to become pregnant and are having difficulty doing

09:25AM    2   that and how can I help?

09:25AM    3            Q.     And the idea that you came up with was
09:25AM    4   inseminating them with your own semen?

09:25AM    5            A.     Well, it was very limited.          It was not

09:25AM    6   something that I did for a lot of patients.              It was a
09:25AM    7   very limited thing.

09:25AM    8            Q.     The first time that you inseminated a

09:25AM    9   patient with your own semen, did you tell the patient
09:26AM   10   that that was the opportunity that you were giving
09:26AM   11   them, was to have your child?

09:26AM   12            A.     No.
09:26AM   13            Q.     Was the first time that you inseminated

09:26AM   14   a patient with your own semen before you met

09:26AM   15   Ms. Ashby who was then Ms. Fowler?
09:26AM   16            A.     I don't remember.

09:26AM   17            Q.     Do you remember if Ms. Ashby was the

09:26AM   18   first one of your patients that you inseminated with

09:26AM   19   your own semen?

09:26AM   20            A.     I think she may have been, yes.

09:26AM   21            Q.     You don't remember inseminating any

09:26AM   22   patient with your own semen prior to Ms. Ashby?

09:26AM   23            A.     I don't.

09:27AM   24            Q.     We'll come back to all of that in a few

09:27AM   25   minutes.

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11:52AM    1             Q.    If he was paying them to provide

11:52AM    2   samples, would he have passed that cost along to you?

11:52AM    3             A.    I don't know.      He didn't ever do that,
11:52AM    4   so I don't know if he was paying them or not.

11:53AM    5             Q.    How did you coordinate with Dr. Cannon

11:53AM    6   in terms of the physical characteristics of a donor?
11:53AM    7             A.    I don't remember that.

11:53AM    8             Q.    Okay.    So what -- on a normal workday in

11:53AM    9   1980, when did you go into the office?
11:53AM   10             A.    9:30.
11:53AM   11             Q.    Okay.    When would you receive calls from

11:53AM   12   women who were ovulating?
11:53AM   13             A.    Well, I -- they may have called and left

11:53AM   14   a message, and I would call them back.             I don't

11:53AM   15   remember specifically.
11:53AM   16             Q.    And you'd call them back from the

11:53AM   17   office?

11:53AM   18             A.    Yes.

11:53AM   19             Q.    Okay.    And you'd have them come in?

11:54AM   20             A.    Yes.

11:54AM   21             Q.    So if you couldn't get third-party donor

11:54AM   22   semen at that time and you had already gone to the

11:54AM   23   office, how did you produce donor semen?             What was

11:54AM   24   that process?

11:54AM   25             A.    I don't remember.

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11:54AM    1             Q.    You don't remember masturbating at your

11:54AM    2   office?

11:54AM    3             A.    I do not.     I don't think I ever did that
11:54AM    4   in my office.

11:54AM    5             Q.    What was the process when you brought

11:54AM    6   your own donor semen to the office?            Was that then
11:54AM    7   given to a nurse?       How was the exchange made?

11:54AM    8             A.    It was given to a nurse.         She didn't

11:54AM    9   know the source.      She didn't know that I didn't meet
11:55AM   10   Dr. Cannon or what -- you know, she didn't know the
11:55AM   11   source.    I would hand her the -- she would prepare

11:55AM   12   it, and then we would take care of it.
11:55AM   13             Q.    Did anybody ever ask you if the semen

11:55AM   14   samples that you were using were your own?

11:55AM   15             A.    I don't remember that they did.
11:55AM   16             Q.    But you don't specifically recall that

11:55AM   17   they didn't?

11:55AM   18             A.    I don't know the answer to that.

11:55AM   19             Q.    Okay.    So other people may have been

11:55AM   20   aware that you were using your own semen to

11:55AM   21   inseminate your patients?

11:55AM   22             A.    I don't think anyone knew that but me.

11:55AM   23             Q.    And these insemination processes,

11:55AM   24   whether -- well, let's just talk about when you were

11:55AM   25   the donor.     These took place at your office, correct?

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11:56AM    1             A.    Yes.

11:56AM    2             Q.    Okay.    It was a part of your medical

11:56AM    3   practice, correct?
11:56AM    4             A.    To provide -- to provide donor

11:56AM    5   insemination?      Is that what you're asking?

11:56AM    6             Q.    Yes.    I'm saying that you were providing
11:56AM    7   your semen to inseminate your patients as part of

11:56AM    8   your medical practice, correct?

11:56AM    9             A.    Yes.
11:56AM   10             Q.    And you did that at the offices of
11:56AM   11   Obstetrics & Gynecology Associates, correct?

11:56AM   12             A.    Correct.
11:56AM   13             Q.    And you were a shareholder in Obstetrics

11:56AM   14   & Gynecology Associates, correct?

11:56AM   15             A.    Yes.
11:56AM   16             Q.    And you were also an employee of

11:56AM   17   Obstetrics & Gynecology Associates, correct?

11:56AM   18             A.    Yes.

11:56AM   19             Q.    And there's nothing that -- when you

11:57AM   20   were using your own semen to inseminate your

11:57AM   21   patients, there's nothing that would have caused that

11:57AM   22   patient to think that it was anything outside of the

11:57AM   23   ordinary course of your practice, correct?

11:57AM   24             A.    That's correct.

11:57AM   25             Q.    You don't know how many biological

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12:17PM    1   therefore can not provide further information

12:17PM    2   responsive to this interrogatory."

12:17PM    3             A.    Then that is -- then that is not true.
12:17PM    4             Q.    And you knew it wasn't true when you

12:17PM    5   signed under oath stating that the contents of this

12:17PM    6   document were true?
12:17PM    7             A.    I guess.

12:17PM    8             Q.    On the top of page 4, looking at this

12:18PM    9   line.   It's part of an answer, and you state, "The
12:18PM   10   clinic did not have reliable access to sperm donors
12:18PM   11   who could provide sperm on short notice."

12:18PM   12                   Do you see where it says that?
12:18PM   13             A.    Yes.

12:18PM   14             Q.    Is that true?

12:18PM   15             A.    Yes.
12:18PM   16             Q.    Okay.    And by "sperm donors" in that

12:18PM   17   sentence, you are referring to third-party donors who

12:18PM   18   are not you, correct?

12:18PM   19             A.    Yes.

12:18PM   20             Q.    Okay.    Did you tell your patients who

12:18PM   21   were seeing you for fertility problems and would need

12:18PM   22   donor sperm that your clinic did not have reliable

12:18PM   23   access to sperm donors who could provide sperm on

12:18PM   24   short notice?

12:18PM   25             A.    I don't remember what I said that long

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01:53PM    1   Dakota, I had a -- a teaching certificate from the

01:54PM    2   University of North Dakota because we had students

01:54PM    3   and residents that were there that we were helping to
01:54PM    4   train, so -- but...

01:54PM    5             Q.    Okay.

01:54PM    6             A.    So that -- that was just during that
01:54PM    7   time.

01:54PM    8             Q.    Anything in addition to that?

01:54PM    9             A.    No.
01:54PM   10             Q.    In terms of your private medical
01:54PM   11   practice, did you ever practice anywhere other than

01:54PM   12   Idaho Falls, Idaho?
01:54PM   13             A.    Well, I practiced in the Air Force.

01:54PM   14             Q.    I'm just talking about private practice,

01:54PM   15   though.
01:54PM   16             A.    Oh, private practice?         No.

01:54PM   17             Q.    Okay.    When did you start practicing

01:54PM   18   medicine in Idaho Falls, Idaho?

01:54PM   19             A.    1977.

01:54PM   20             Q.    And where was your first job practicing

01:54PM   21   medicine in Idaho Falls, Idaho?

01:54PM   22             A.    Well, I joined the Obstetrics &

01:55PM   23   Gynecology Group, and that's where I began working.

01:55PM   24             Q.    And were you employed by the -- what you

01:55PM   25   just referred --

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01:55PM    1             A.    Initially -- initially I was employed,

01:55PM    2   and then I became -- you know, bought into the

01:55PM    3   practice, and...
01:55PM    4             Q.    It's very important that you allow me to

01:55PM    5   finish my question.

01:55PM    6             A.    I'm sorry.
01:55PM    7             Q.    Okay.    Because the court reporter needs

01:55PM    8   to have a clear record.         Okay?

01:55PM    9             A.    I'm sorry.
01:55PM   10             Q.    Okay.    And you were with the same
01:55PM   11   practice from the time you started in 1977 until you

01:55PM   12   retired in 2005?
01:55PM   13             A.    Yes.

01:55PM   14             Q.    Okay.    Did you practice at any other

01:55PM   15   clinic aside from Obstetrics & Gynecology Associates?
01:55PM   16   And I understand that it went under a different name

01:55PM   17   at one point, but did you ever practice with any

01:56PM   18   other clinic aside from what became Obstetrics &

01:56PM   19   Gynecology Associates?

01:56PM   20             A.    No.

01:56PM   21             Q.    Where did you have hospital privileges?

01:56PM   22             A.    Eastern Idaho Regional Medical Center,

01:56PM   23   and then -- I think that's the only one I ever had

01:56PM   24   privileges at.

01:56PM   25             Q.    Okay.    Were your privileges ever --

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02:57PM    1             A.    It says the liquification is unknown.

02:57PM    2   So we don't know how long it took to liquify because

02:57PM    3   it was already -- it was unknown.
02:57PM    4             Q.    Okay.

02:57PM    5             A.    Okay.    And the volume is

02:58PM    6   5.5 milliliters, and the PH is 7.5, and 8 to 10 per
02:58PM    7   high-power field of white cells, and the count is

02:58PM    8   5 million.     The motility is 30 percent; the

02:58PM    9   morphology is 50 percent, which means 50 percent all
02:58PM   10   of them look normal, and the color was normal.
02:58PM   11             Q.    What's the significance to the

02:58PM   12   30 percent motility?
02:58PM   13             A.    That's a -- a greatly decreased

02:58PM   14   motility.

02:58PM   15             Q.    Okay.    So was this document a part of
02:58PM   16   what you based your diagnosis of low motility on?

02:58PM   17             A.    Yes.

02:58PM   18             Q.    Okay.    So based on this, you diagnosed

02:58PM   19   Howard Fowler with low motility?

02:58PM   20             A.    Yes.    30 percent.

02:58PM   21             Q.    Now, I ask you to look at the next page.

02:58PM   22             A.    Okay.

02:58PM   23             Q.    Is this your handwriting on this page?

02:58PM   24             A.    Yes.

02:58PM   25             Q.    Okay.    I would ask that you just walk me

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03:28PM    1             A.    Yeah.

03:28PM    2             Q.    Presumably using a stethoscope?

03:28PM    3             A.    Well -- or we had electric monitoring.
03:28PM    4             Q.    Okay.    "Hct," the next column?

03:28PM    5             A.    Where's that?       Oh, hematocrit.       That's

03:28PM    6   her blood count.
03:28PM    7             Q.    So going down the column where it says

03:28PM    8   "Doctor," the first one is "M."           Is that Mortimer?

03:28PM    9             A.    That's me.
03:28PM   10             Q.    Okay.    And I take it, on these regular
03:29PM   11   checkups, that -- that -- that the mother of the --

03:29PM   12   the mother-to-be would see whatever doctor was
03:29PM   13   available just to get this basic checkup done.                Is

03:29PM   14   that accurate?

03:29PM   15             A.    That's right.       That's correct.
03:29PM   16             Q.    Okay.    So then where it says "R," that's

03:29PM   17   Dr. Rulon?

03:29PM   18             A.    Yes.

03:29PM   19             Q.    And "Dr. K" is Dr. Kindred?

03:29PM   20             A.    Correct.

03:29PM   21             Q.    And then the next three markings "M"

03:29PM   22   would indicate that she saw you, Dr.             Mortimer?

03:29PM   23             A.    Yes.

03:29PM   24             Q.    And then the "R" following would be

03:29PM   25   Dr. Rulon?

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 1                       REPORTER'S CERTIFICATE

 2

 3    STATE OF IDAHO                  )
                                      )    ss.
 4    COUNTY OF BONNEVILLE            )

 5

 6
 7        I, Amber S. Williams, Court Reporter and Notary
     Public in and for the State of Idaho, do hereby
 8   certify:
          That prior to being examined Gerald E. Mortimer,
 9   M.D., the witness named in the foregoing deposition,
     was by me duly sworn to testify to the truth, the
10   whole truth, and nothing but the truth;
          That said deposition was taken down by me in
11   shorthand at the time and place therein named and
     thereafter reduced to typewriting under my direction,
12   and that the foregoing transcript contains a full,
     true, and verbatim record of said deposition.
13        I further certify that I have no interest in the
     event of the action.
14        WITNESS my hand and seal this 19th day of
     December 2018.
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20                                        Amber S. Williams
                                          Court Reporter & Notary
21                                        Public in and for
                                          the State of Idaho
22                                        SRL-1080

23

24   My Commission Expires:        06-01-21

25

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